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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,                      CIVIL ACTION
DOROTHY NAIRNE, EDWIN RENE                       NO. 3:22-cv-00211-SDD-SDJ
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,                     Chief Judge Shelly D. Dick
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                     Magistrate Judge Scott D.
ADVANCEMENT OF COLORED PEOPLE                    Johnson
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER
COALITION FOR EQUITY AND
JUSTICE,

                         Plaintiffs,

      v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                         Defendant.

EDWARD GALMON, SR., CIARA HART,                  Consolidated with
NORRIS HENDERSON, and TRAMELLE
HOWARD,                                          CIVIL ACTION
                                                 NO. 3:22-cv-00214-SDD-SDJ
                         Plaintiffs,

      v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                         Defendant.



MEMORANDUM IN SUPPORT OF THE UNOPPOSED MOTION FOR LEAVE
 TO FILE BRIEF AMICUS CURIAE IN SUPPORT OF NEITHER PARTY
               AND TO EXCEED THE PAGE LIMIT
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        In support of their unopposed 1 motion for leave of Court (1) to file a brief amicus

curiae in support of neither party and (2) to exceed the page limit for memoranda in Rule

7(g) of the Court’s Local Rules, proposed Amici Curiae, Michael Mislove, Lisa J. Fauci,

Robert Lipton, and Nicholas Mattei (the “Proposed Amici”), state as follows:

        At the liability phase of these preliminary-injunction proceedings, the Court twice

granted the Proposed Amici’s motions to file a brief in support of neither party, on April

29, 2022 (Rec. Doc. No. 96) and on June 21, 2022 (Rec. Doc. No. 210). In this Court’s June

6, 2022 preliminary-injunction Ruling and Order, this Court expressly commended the

Amicus Map’s usefulness for remedial purposes (Rec. Doc. No. 173). Now that this Court

has scheduled a remedial hearing for October 3 to 5, 2023, Proposed Amici believe the

Amicus Map may be especially helpful as the Court crafts a proper remedy for the VRA

violation that can be implemented before the 2024 election cycle.

        Proposed Amici seek to file this brief, and its accompanying proposed remedial

map, barely a week after the Court’s September 7, 2023 scheduling order (Rec. Doc. No.

275), and at the same time that the parties are serving expert reports and before the

parties will have to file their rebuttal expert reports, witness and exhibit lists, and pre-

hearing briefs.      See id.    This timing ensures that the parties have a full and fair

opportunity to comment on our amicus brief if they wish.

        Amicus briefs shall normally be allowed when, among other grounds, “the amicus

has unique information or perspective that can help the Court beyond the help that the



1
  The Proposed Amici sought consent of all parties to file this brief. The Robinson Plaintiffs, the Galmon
Plaintiffs, Secretary Ardoin, the Legislative Intervenors, and the Legislative Black Caucus consented to
the request. The State did not respond as of the time of this filing.
                                                    1
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lawyers for the parties are able to provide.” Hard Drive Prods., Inc. v. Doe, 892 F. Supp.

2d 334 (D.C. 2012) (citation and internal quotation marks omitted). As this Court has

recognized in this and other cases, amicus participation is common in Voting Rights Act

(VRA) and redistricting cases in Federal District Courts, especially when amici curiae

can provide a unique perspective or information that the parties likely would not provide.

See, e.g., Clark v. Roemer, 751 F. Supp. 586, 587 (M.D. La. 1990) (three-judge court), rev’d

on other grounds, 500 U.S. 646 (1991) (hearing from four amici in VRA suit involving

Louisiana judicial elections); Terrebonne Parish Branch NAACP v. Jindal, Civ. Action

No. 14-69, 2016 WL 2743525, at *6 (M.D. La. May 11, 2016) (denying motion to intervene

but inviting putative intervenor to seek leave to participate as amicus curiae). Indeed,

active amicus participation is commonplace across the Nation in voting-rights and

redistricting cases, where the legal and factual complexities render additional

perspectives especially valuable. 2

        Here, at the liability phase of the preliminary-injunction proceedings, this Court

has already granted the Proposed Amici leave to file two briefs, along with an illustrative



2
 See, e.g., De Grandy v. Wetherell, 815 F. Supp. 1550, 1555 & n.2 (N.D. Fla. 1992) (listing multiple amici),
aff’d in part and rev’d in part sub nom. Johnson v. De Grandy, 512 U.S. 997 (1994); Alpha Phi Alpha
Fraternity v. Raffensperger, Nos. 1:21-CV-5337, 1:21-CV-5339, 1:22-CV-122, 2022 WL 633312, at *5
nn.2, 4 (N.D. Ga. Feb. 28, 2022) (granting leave to two amici); Democratic Nat’l Comm. v. Bostelmann,
488 F. Supp. 3d 776, 799 n.17, 816–17 (W.D. Wis. 2020) (granting motions for leave to file amicus briefs
after concluding that two proposed amici each had “a unique perspective, or information, that can assist the
court … beyond what the parties are able to do” (citing Nat’l Org. for Women, Inc. v. Scheidler, 223 F.3d
615, 617 (7th Cir. 2000))); Thomas v. Andino, Nos. 3:20-cv-01552, 3:20-cv-01730, 2020 WL 2617329, at
*9, *11–12 (D.S.C. May 25, 2020) (granting two motions for leave to file amicus briefs); Baldus v.
Members of Wis. Gov’t Accountability Bd., 862 F. Supp. 2d 860, 862–63 (E.D. Wis. 2012) (granting two
motions for leave to file amicus briefs); Fletcher v. Lamone, 831 F. Supp. 2d 887, 910 (D. Md. 2011)
(granting motion for leave to file an amicus brief); Perry-Bey v. City of Norfolk, 678 F. Supp. 2d 348, 357,
390 (E.D. Va. 2009) (granting motion for leave to file an amicus brief and inviting amicus to participate in
oral argument).
                                                     2
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redistricting plan. As noted in our prior motions, Proposed Amici Michael Mislove, Lisa

J. Fauci, Robert Lipton, and Nicholas Mattei are professors of mathematics and computer

science at Louisiana State University and Tulane University. The illustrative map that

was attached to Proposed Amici’s prior submissions (the “Amicus Map”) demonstrated

that computational redistricting—using high-performance computers to draw maps that

attempt to optimize multiple redistricting criteria—could help produce a map with two

Black “crossover” districts that fully remedies the adjudicated VRA violation, avoids

excessive race-consciousness, complies with all other legal requirements and traditional

districting principles, and otherwise leaves intact the Legislature’s 2022 Enacted Plan

and the legitimate legislative judgments that it embodies.

       Since Proposed Amici first presented this map to this Court (Rec. Doc. No. 97),

the Supreme Court stayed these proceedings, reaffirmed the Gingles test for VRA

Section 2 violations in Allen v. Milligan, 143 S. Ct. 1487 (2023), and then vacated the stay.

See Ardoin v. Robinson, 143 S. Ct. 2654 (2023) (dismissing writ of certiorari as

improvidently granted and vacating stay). At this point in the proceedings, this Court

must ensure that any remedial map put in place for the 2024 elections will provide Black

voters with “equality of opportunity” to achieve electoral success in two congressional

districts. See Singleton v. Allen, 2023 WL 5691156, at *50 (quoting Johnson v. De

Grandy, 512 U.S. 997, 1014 n.11 (1994)). In this brief, Proposed Amici outline why, in

light of Allen v. Milligan and other recent decisions and filings, the Amicus Map presents

the Court with an excellent way to fully cure the VRA violation, while mitigating

concerns raised by both sides.


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      Proposed Amici offer this brief, and their proposed remedial map, not in support

of either party, but rather as a public service to assist the Court as it prepares for the

upcoming remedial hearing on October 3 to 5, 2023.




 Dated: September 15, 2023                      Respectfully submitted,

                                                /s/ Judy Y. Barrasso_______________
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